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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


NEW NGC, INC. d/b/a National Gypsum                 )
Company, NGC INDUSTRIES, LLC, and                   )
NATIONAL GYPSUM PROPERTIES,                         )
LLC,                                                )
                                                    )   Case No. 19-CV-03978
          Plaintiffs,                               )
                                                    )   Judge John F. Kness
v.                                                  )
                                                    )   Mag. Judge Gabriel A. Fuentes
Alpinebay, Inc.,                                    )
                                                    )
          Defendant.

                                    JOINT STATUS REPORT

          Pursuant to Court Orders dated April 22, 2020 and April 30, 2020 (Dkt. #99, 101), the

parties hereby submit the following joint report.

     I.       Progress of Expert Discovery

          The parties have been diligently working on expert discovery. Plaintiffs’ chief concern

when they filed their motion to extend the expert discovery schedule (Dkt. # 86) was that they

would not have sufficient time to review Defendant’s February 28, 2020 document production

containing an additional 23,100 documents and 136,000 pages of discovery. Pursuant to the

Court’s recent amendment to the discovery schedule, the deadlines for expert discovery are:

          6/19/2020 – Disclosure and reports of retained experts deadline
          7/20/2020 – Any rebuttal reports deadline
          9/18/2020 – All expert depositions and expert discovery to be completed

This schedule should allow sufficient time for completion of the review of documents and

preparation of expert reports. The parties may need further Court guidance regarding the conduct

of expert depositions in light of the on-going COVID-19 pandemic.
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   II.       Status of Settlement Discussions

         Plaintiffs

         Plaintiffs remain interested in exploring settlement and rescheduling the previously

cancelled settlement conference with the Court. On March 23, 2020, in light of the Court’s

minute order encouraging the parties to consider whether they wish to attempt to settle the case

(Dkt. # 95), counsel for Plaintiffs asked counsel for Defendant whether Defendant was interested

in mediating.

         Defendant

         Defendant has no interest in a settlement conference because there is no indication, of

any kind, that the parties will find any agreement. Alpinebay’s counsel declined Plaintiffs’

request to mediate because the parties have discussed settlement ad nauseum in this matter. The

parties’ settlement positions have not changed in any respect since the litigation commenced.

         Defendant’s insurer has requested a written settlement demand which Plaintiffs have

prepared and which is in keeping with the Court’s settlement conference requirements. Plaintiffs

will send this letter to Defendant’s counsel and the insurer. Plaintiffs have asked for the insurer

to sign the Undertaking to the Agreed Protective Order prior to sending the letter.




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Dated: May 6, 2020

Respectfully submitted,                     Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

      The undersigned certifies that a true and correct copy of the foregoing was served upon
Defendant’s counsel on May 6, 2020, via email at the following address:

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                                            /s/ Nicholas A. Casto




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